      Case 5:24-cv-01085-XR   Document 60-7   Filed 04/08/25   Page 1 of 3
Michael Garnier                                                      November 21, 2024
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 · · · · · ·IN THE UNITED STATES DISTRICT COURT
 · · · · · · FOR THE WESTERN DISTRICT OF TEXAS
 · · · · · · · · · SAN ANTONIO DIVISION


 SOUTHWEST AIRLINES CO.,· · ·)
 · · · · · · · · · · · · · · )
 · · · · ·Plaintiff· · · · · )
 · · · · · · · · · · · · · · )
 VS.· · · · · · · · · · · · ·) NO. 5:24-CV-01085-XR
 · · · · · · · · · · · · · · )
 THE CITY OF SAN ANTONIO,· · )
 TEXAS and JESUS SAENZ, in· ·)
 his official capacity as· · )
 Director of Airports for the)
 City of San Antonio, Texas, )
 · · · · · · · · · · · · · · )
 · · · · ·Defendants· · · · ·)


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 · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF

 · · · · · · · · · · ·MICHAEL GARNIER

 · · · · · · · · · · NOVEMBER 21, 2024

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 · · · · ·ORAL AND VIDEOTAPED DEPOSITION of MICHAEL

 GARNIER, produced as a witness at the instance of the

 Plaintiff, and duly sworn, was taken in the above-styled

 and numbered cause on the 21st day of November, 2024,

 from 8:59 a.m. to 1:35 p.m., before Naomi R. Peltier,

 CSR in and for the State of Texas, reported by machine

 shorthand, at the Airport Business Center, 10100 Reunion

 Place, 8th Floor, San Antonio, Texas, pursuant to the

 Federal Rules of Civil Procedure and the provisions

 stated on the record or attached hereto.
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·2                                                                  · · · · · · · · · · · · · ·(continued)
· · FOR THE PLAINTIFF:· SOUTHWEST AIRLINES CO.
·3· · · M. ROY GOLDBERG                                             ·2
· · · · CLARK HILL, PLC                                             · · · · · · · · · · · · · · EXHIBITS
·4· · · 1001 Pennsylvania Avenue NW, Suite 1300 South               ·3· · · · · · · · · · · · · · · · · · · · · · · · FIRST
· · · · Washington, D.C.· 20004                                     · · NO.· · · · DESCRIPTION· · · · · · · · · · · REFERENCED
·5· · · (202) 552-2388                                              ·4
· · · · rgoldberg@clarkhill.com                                     · · 45· ·Email (2028 Space Estimates for Southwest) ...133
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·7· JESUS SAENZ, IN HIS OFFICIAL CAPACITY AS DIRECTOR OF            · · 46· ·New Terminal Programming, 6/16/23 (CoSA 0000986,
· · AIRPORTS FOR THE CITY OF SAN ANTONIO, TEXAS                     ·6· · · · ·CoSA 0000987, CoSA 000990, CoSA 0001001,
·8· · · W. ERIC PILSK                                               · · · · · ·CoSA 0001002, CoSA 0001008, CoSA 0001021,
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· · · · Washington, D.C.· 20006
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13· · · San Antonio, Texas· 78205
· · · · (210) 207-8919                                              13· 51· ·Email (CoSA 0003979) .........................162
14· · · deborah.klein@sanantonio.gov                                14· 52· ·Email (CoSA 0003929) .........................163
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17· · · ANGELA MAYEUX
· · · · (In-House Counsel for Southwest Airlines Co.)               · · · · · ·Committee 11/3/23 (CoSA 0001327, CoSA 0001333,
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·1· · · · · · · · · · · · · I N D E X                               ·1· · · · · · · · THE VIDEOGRAPHER:· We are on record on
·2
· · · · · · · · · · · · · · · · · · · · · · · · · · · PAGE          ·2· Thursday, November 21st, 2024.· The time is now
·3· Appearances .........................................2          ·3· 8:59 a.m., beginning the video deposition of Michael
·4· · · · · · · · · · · · ·EXAMINATION
· · · · · · · · · · · · · · · · · · · · · · · · · · · PAGE          ·4· Garnier.
·5· MICHAEL GARNIER                                                 ·5· · · · · · · · Will counsel introduce themselves for the
· · · ·Examination By Mr. Goldberg ......................5
·6                                                                  ·6· record, after which the court reporter will swear in the
· · REPORTER'S CERTIFICATE ............................185          ·7· witness.
·7
·8· · · · · · · · · · · · · EXHIBITS                                ·8· · · · · · · · MR. GOLDBERG:· Thank you.· This is Roy
· · · · · · · · · · · · · · · · · · · · · · · · · FIRST             ·9· Goldberg, with Clark Hill, and I represent Southwest
·9· NO.· · · · DESCRIPTION· · · · · · · · · · · REFERENCED
10· 31· ·(Previously Marked) Terminal Development Program           10· Airlines.
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11                                                                  11· · · · · · · · MS. MAYEUX:· Angela Mayeux, in-house
· · 32· ·(Previously Marked) Terminal Development Program           12· legal, Southwest Airlines.
12· · · · ·4/2/24 (CoSA 0005510 to CoSA 0005533) ......148
13· 33· ·(Previously Marked) Summary of Decision-Making             13· · · · · · · · MS. KLEIN:· Debbie Klein, City Attorney's
· · · · · ·Process for Past-DBO Gate & Club Locations               14· Office, City of San Antonio, representing the City of
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15· 35· ·(Previously Marked) Gating Placement Analysis              15· San Antonio and Jesus Saenz.
· · · · · ·Worksheet (CoSA 0003474 to CoSA 0003516,                 16· · · · · · · · MR. PILSK:· Eric Pilsk, Kaplan Kirsch,
16· · · · ·CoSA 0003483 to CoSA 0003485, CoSA 0003477
· · · · · ·to CoSA 3482) ...............................49          17· representing the City of San Antonio and Jesus Saenz.
17                                                                  18· · · · · · · · THE VIDEOGRAPHER:· Thank you.
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19· 41· ·(Previously Marked) San Antonio Airport System,            20· having been first duly sworn, testified as follows:
· · · · · ·Speaking Points - City Council Briefings
20· · · · ·(CoSA 0006531 to CoSA 0006534) .............117          21· · · · · · · · · · · · ·EXAMINATION
21· 42· ·(Previously Marked) Slides from 5/3/24 ESC
· · · · · ·Meeting (CoSA 0003311, CoSA 0003312,                     22· BY MR. GOLDBERG
22· · · · ·CoSA 0003319 to CoSA 0003328) ...............88          23· · · Q.· ·Good morning, Mr. Garnier.
23· 43· ·Text Messages .................................97
24· 44· ·Meeting Minutes - Executive Steering Committee             24· · · A.· ·Thank you.· Good morning.
· · · · · ·(3/8/24) (CoSA 0003233 to CoSA 0003240) ....126          25· · · Q.· ·Have you been deposed before?
25




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·1· important to the City.                                           ·1· Well, the Bates Number is at the bottom of the page.
·2· · · A.· ·Certainly.· I think that that's -- What it              ·2· That's the Southwest placement sheet, do you see that?
·3· sounded to me like, we had heard from our customer base,         ·3· · · A.· ·Yes.
·4· is having more options because there was a need that             ·4· · · Q.· ·Okay.· So, Southwest received zero points on
·5· wasn't being filled.                                             ·5· "airline club requested," correct?
·6· · · Q.· ·And Southwest Airlines is a single cabin                ·6· · · A.· ·That's correct.
·7· carrier?                                                         ·7· · · Q.· ·And as far as "fit into SAT," Southwest gets
·8· · · A.· ·That's correct.                                         ·8· five points; is that right?· That was your decision?
·9· · · Q.· ·And that's why they were asked to remain in             ·9· · · A.· ·Yes.
10· Terminal A, because they don't have first class?                 10· · · Q.· ·As opposed to American getting seven, correct?
11· · · A.· ·No, I think that clubs were a bigger factor,            11· · · A.· ·That's correct.
12· but operationally it worked.· I mean, that was -- This           12· · · Q.· ·So, why did Southwest get two points less than
13· was created well after Corgan's recommendation.· And             13· American with regard to "fit into SAT"?
14· Corgan's recommendation had Southwest in Terminal A              14· · · A.· ·I think with their no-frills LCC business
15· having literally nothing to do with this.                        15· model, it didn't -- it didn't really fit exactly what --
16· · · Q.· ·If that's the case, then why was this created           16· There is a niche for it, there's a -- there's a market
17· at all?                                                          17· for it here, certainly, but the loudest voice that we
18· · · A.· ·This was created to, as I said, kind of a gut           18· were hearing was wanting that first class, wanting that
19· check, how do we -- how do we get past this impasse of           19· club experience, wanting something different.· And so --
20· not being able to finalize the gates?· So, it's -- Does          20· And certainly, there is a huge market for Southwest,
21· this -- Does this match this (indicating)?· Does this            21· they're very popular here, but there was just the extra
22· customer experience match the operational                        22· components that American Airlines had that they didn't
23· recommendation?· And if they do, then we should have a           23· have.
24· winner.                                                          24· · · Q.· ·And "service growth and experience," Southwest
25· · · Q.· ·Service, growth, experience, that was also              25· gets six versus American seven.· Why the differential

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·1· allotted seven possible points; is that right?                   ·1· there?
·2· · · A.· ·Okay.                                                   ·2· · · A.· ·Let me take a look here.· Do we have notes on
·3· · · Q.· ·Is that correct, the highest?                           ·3· these?
·4· · · A.· ·Yes.                                                    ·4· · · Q.· ·There are notes on both of them.
·5· · · Q.· ·Now, for the first sheet we have here, which is         ·5· · · A.· ·Yes.· Okay.
·6· Bates Number 3474, that's for American Airlines.· Do you         ·6· · · Q.· ·But as far as your testimony as the
·7· see that?                                                        ·7· decision-maker, I'd like to know what -- and please feel
·8· · · A.· ·Yes.                                                    ·8· free to review the notes, but --
·9· · · Q.· ·And of the airline club request, they were              ·9· · · A.· ·Yeah.
10· allocated the entire seven points; is that right?                10· · · Q.· ·-- once you review them, let me know why
11· · · A.· ·Yes.                                                    11· Southwest didn't get as many points as American on
12· · · Q.· ·And who made that decision?· Was that you?              12· "service growth experience."
13· · · A.· ·Yes, that's pretty simple.                              13· · · A.· ·So, very similar, Southwest, their boarding
14· · · Q.· ·And "fit into SAT," you gave them full seven            14· experience is different.
15· out of seven.· Why is -- Why did American get the full           15· · · Q.· ·Not as -- Not as good as American's?
16· seven out of seven points for that?                              16· · · A.· ·Well, you know, there was an interesting
17· · · A.· ·Well -- So, they -- they have -- That's -- They         17· Mythbusters that did the boarding experience, and
18· have the split cabin, they offer the first class, they           18· Southwest is actually changing their boarding
19· go to major hubs that have international connections.            19· experience, so I don't think that that's -- The
20· It just seemed like that -- they answered what I was             20· Mythbusters view was that it was not as good of an
21· told that our passengers wanted.                                 21· experience.· It might have been fast, but it wasn't a
22· · · Q.· ·For comparison purposes, if you don't mind              22· great customer experience.
23· skipping ahead and we'll come back --                            23· · · Q.· ·And that -- that's one of the reasons why they
24· · · A.· ·Uh-huh.                                                 24· received less points than American?
25· · · Q.· ·-- to Bates Number 3483, at the bottom of --            25· · · A.· ·I think that having assigned seats, being able




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